                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    Southern Division

                                             7:23-CV-897

IN RE:                                            )
                                                  )
CAMP LEJEUNE WATER LITIGATION                     )          ORDER REGARDING
                                                  )     REAPPOINTMENT OF PLAINTIFFS'
                                                  )          LEADERSHIP GROUP
This Documents Relates to:                        )
ALL CASES                                         )
                                                  )

         This matter is before the court sua sponte regarding the second reappointment of Plaintiffs '

Leadership Group (collectively, "PLG"). 1 See [D.E. I J; [D.E. I OJ ("CMO I").

         In August 2022, Congress enacted the Camp Lejeune Justice Act of2022 ("CLJA") as part

of the larger Honoring our PACT Act of 2022 ("PACT Act"). See Pub. L. No . 117-168, § 804,

136 Stat. 1759, 1802-04. The CLJA provides a cause of action for "individual[s], . .. who resided ,

worked, or [were] otherwise exposed (including in utero exposure) for not less than 30 days during

the period beginning on August I , 1953, and ending on December 31, 1987, to wate r at Camp

Lejeune, North Carolina, that was supplied by, or on behalf of, the United States .... " Id. §

804(b). The United States District Court for the Eastern District of North Carolina is the exclusive

jurisdiction and venue for claims brought under§ 804(b) . Id. § 804(d).

         In CMO I, entered July 19, 2023, the court appointed certain individuals to roles in the

PLG for this litigation ("Litigation"). [D.E. I OJ 1- 2, 6. The court made "all appointments ... for

a one-year period .. . expir[ing] July 31, 2024 ." Id. at 9.

         Today, there are more than 3,397 individual CLJA laws uits pending in this district and



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 The court has previously discussed its inherent powers and those under the Federal Rules of Civil
Procedure to appoint a plaintiff leadership group. See [D.E. 22] 6-8.




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approximately 401,000 administrative claims on file with the Department of the Navy. 2 [D.E.

417]. In general , the court has structured proceedings to efficiently litigate pretrial threshold issues

and conduct bellwether mediations and trials to help the parties value cases for global settlement.

See [D.E. 23) 11; see also [D.E. 81-14) 10:16-24. The parties are currently litigating the first

threshold issue, "Water Contamination ," or the concentration of toxic chemicals in drinking water

at Camp Lejeune during the relevant time period. See, e.g., [D.E. 247]. The parties, court

appoi nted Settlement Masters, and Settlement Liaison will begin holding initial bellwether

mediations this month. See [D.E. 406]. The court anticipates holding bellwether trials in the first

half of 2026.

        In CMO I, the court stated that PLG members could "apply for reappointment when their

terms expire" and that "[a] reappointment process will be established at an appropriate time in

advance of the expiration date." [D. E. I OJ 9. In May 2024, the court created a reappointment

process for members of the PLG. [D.E. 196]. After considering those individuals' su bmission s,

the court reappointed members of the PLG for an additional one-year term expiring July 31, 2025 .

[D.E. 260).

        In May 2025, borrowing on its previous reappointment process, [D .E. 196), the court

solicited, [D.E. 386), and received reapplication materials from all PLG members. Based on those

materials and the progress of this Litigation to date, the court will extend PLG members'

appointments by an additional six months.

        The court hereby reappoints the PLG for an additional six months, from August I, 2025 ,

to February I, 2026, as follows:



~ The CLJA contains an administrative exhaustion requirement under 28 U.S.C. § 2675 before filin g an
action under§ 804(b). Id. § 804(h). This requirement means that an individual must first seek relief with
the United States Department of Navy before filing a federal lawsuit in this district.

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A further reappointment process will be established at an appropriate time in advance of the

February I, 2026, expiration date. [D.E. IO] 9. The PLG remains subject to the procedures and

responsibilities outlined in CMO l. Id.
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       SO ORDERED . This l.!L_ day of July, 2025.




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       RICHARD E.
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                               II
       Chief United States District Judge                United States District Judge




       LOUISE W. FLANAGAN
       United States District Judge                      United States Di strict Judge




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